                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

CARPENTERS PENSION TRUST                       )
FUND OF KANSAS CITY,                           )
a Trust Fund, et al.,                          )
                                               )
                      Plaintiffs,              )      Case No. 18-00414-CV-W-ODS
                                               )
vs.                                            )
                                               )
BRADFORD INTERIOR GROUP, LLC,                  )
                                               )
                      Defendant.               )

   ORDER (1) FINDING DEFENDANT BRADFORD INTERIOR GROUP, LLC IN
DEFAULT, AND (2) ORDERING PLAINTIFFS TO SUBMIT EVIDENCE ON DAMAGES
       On July 27, 2018, the Court struck Rondale Bradford’s pro se answer filed on
behalf of Defendant Bradford Interior Group, LLC. Doc. #10. The Court ordered
Defendant to file, through licensed counsel, an answer to Plaintiffs’ complaint by August
16, 2018, and warned failure to do so will likely result in entry of a default judgment
against Defendant. To date, Defendant has not answered Plaintiff’s complaint, and the
time for doing so has passed. Accordingly, pursuant to Federal Rule of Civil Procedure
55(a), the Court finds Defendant in default.
       The Court next considers Plaintiffs’ damages. A court may enter default
judgment against a defendant found to be in default for failure to plead or otherwise
defend. Fed. R. Civ. P. 55. A hearing is not necessary if there is sufficient evidence
before the Court to support the default judgment. See Stephenson v. El-Batrawi, 524
F.3d 907, 915-16 (8th Cir. 2008) (citations omitted). The factual allegations in the
Complaint are taken as true, except those relating to damages. See Everyday Learning
Corp. v. Larson, 242 F.3d 815, 818 (8th Cir. 2001) (citation omitted). The Court must
determine “whether the unchallenged facts constitute a legitimate cause of action, since
a party does not admit mere conclusions of law.” Marshall v. Baggett, 616 F.3d 849,
852 (8th Cir. 2010) (quoting Murray v. Lene, 595 F.3d 868, 871 (8th Cir. 2010)). The
Court must also determine the amount of damages either by hearing or other evidence
in the record, if damages are liquidated or ascertainable. See Stephenson, 524 F.3d at



         Case 4:18-cv-00414-ODS Document 11 Filed 08/22/18 Page 1 of 2
915-16 (citations omitted). Plaintiffs must “prove its actual damages to a reasonable
degree of certainty.” Everyday Learning Corp., 242 F.3d at 819. On or before
September 24, 2018, Plaintiffs shall file the appropriate documents and materials
described in Federal Rule of Civil Procedure 55(b)(1) to satisfy the requirements for
default judgment.
       The Clerk of the Court is directed to send two copies, one via certified mail and
one via regular mail, of this order to:
       Rondale Bradford
       6220 Arlington Ave.
       Raytown, MO 64133

       Rondale Bradford
       9546 E. 57th Terr.
       Raytown, MO 64133

IT IS SO ORDERED.

                                                  /s/ Ortrie D. Smith
DATE: August 22, 2018                             ORTRIE D. SMITH, SENIOR JUDGE
                                                  UNITED STATES DISTRICT COURT




                                            2
         Case 4:18-cv-00414-ODS Document 11 Filed 08/22/18 Page 2 of 2
